Case 2:21-cv-05383-DOC-SP Document1 Filed 07/01/21 Pagelof8 Page ID#1

Michael R- SPENGCER.

FULL NAME

a CF: Jus wit Teves CC Sechiaal Eaolty

COMMITTED NAME (if different)

HS0° BAUCKETS TREE

FULL ADDRESS INCLUDING NAME OF INSTITUTION

Los 4nGt/es, CA FOO/Z
H3GBY2ZNZ

PRISON NUMBER (if applicable)

 

 

FILED
CLERK, U.S. DISTRICT COURT

   

 

DISTRICT OF CALIFORNIA
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MichAEL R. Spengler

PLAINTIFF,
v.

DEP. 7y¥ Lo P © a DEFENDANT(S). 4

A. PREVIOUS LAWSUITS

1. Have you brought any other lawsuits in a federal court while a prisoner;

 

CASENUMBER 9.°.\-CV~- OS324 3- DOC-SP

To be supplied by the Clerk
NEW

CIVIL RIGHTS COMPLAINT
PURSUANT TO (Check one)

42 U.S.C. § 1983
Bivens v. Six Unknown Agents 403 U.S. 388 (1971)

 

Yes [No

2. Ifyour answer to “1.” is yes, how many? MANY~ Re DOC/CE 7

Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an

attached piece of paper using the same outline.)

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CIVIL RIGHTS COMPLAINT

CV-66 (7/97)

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a Panis fo thls Michael R: <SPNClER

Defendants Glwa YS LASP Pepe ©e5 [Stare F oF
Tref fatils) Flog gst?
b. Court ALWAYS DOC-SP fUsDe CEN Hef CFA |

c. Docket or case number see BG +4
7 —
d. Name of judge to whom case was assigned SYrer: DN i! yen.

e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it

 

 

appealed? Is it still ding?)

 

f. Issues raised:

 

1983 Mostly te rassment frem Stark

 

g. Approximate date of filing lawsuit: this 4 ear SI me _ JA N :
in by Mo:

h. Approximate date of disposition y

B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

1. Is there a grieyAnce procedure available at the institution where the events relating to your current complaint
occurred? J# Yes LINo

2. Have you filed a grievance concerning the facts relating to your current complaint AV es ONo

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If your answer is no, explain why not Lf AUS Gg EE ef ec a JS eHhe fe G ad
BOS/QW7 ort Far rey 2B USC 138t7

 

 

4. Please attach copies of papers related to the grievance procedure.
AT Gl | fIMes
C. JURISDICTION ~ “pie Al
heel ‘4 Spe fee De terne?
This complaint alleges that the civil rights of plaintiff f IC mr ‘4 cf oe
[ (print phaintiffs ‘Nme) AD

who presently resides at / } CF usp Baucher-St- lA CA Goglz- Flow 232 hvyjotet

(mailing address or place of confinement)

were violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at

rTCF

(institution/city where violation occurred)

 

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a

 

on (date or dates) : ‘ , EfeFIRN a
‘aim (CTaim Il) — (Claim TH)
NOTE: You need not name more than one defendant or allege more than one claim. If you are naming more than

five (5) defendants, make a copy of this page to provide the information for additional defendants.

1. Defendant J Corry) f VP EZ resides or works at
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450 pqvcher ST L4 CA GOO/t -Flat 232

(full address of first defendant)

Finale Don jx) OF 232. of LAS P ~preseNt DAY
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tle, if any)

 

The defendant is sued in his/her (Check one or both): SR individual O official capacity.

Explain how this defendant was acting under color of law:

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CE Stee jaw ¢ Jaw:

2. Defendant resides or works at
(full name of first defendant)

 

 

(full address of first defendant)

 

(defendant's position and title, if any)

The defendant is sued in his/her (Check one or both): Clindividual 1 official capacity.

Explain how this defendant was acting under color of law:

 

 

3. Defendant resides or works at
(full name of first defendant)

 

(full address of first defendant)

 

(defendant's position and title, 1f any)

The defendant is sued in his/her (Check one or both): Clindividual 1 official capacity.

Explain how this defendant was acting under color of law:

 

 

 

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4. Defendant resides or works at
(full name of first defendant)

 

(full address of first defendant)

 

(defendant's position and title, if any)

The defendant is sued in his/her (Check one or both): UO individual J official capacity.

Explain how this defendant was acting under color of law:

 

 

5. Defendant resides or works at

(full name of first defendant)

 

(full address of first defendant)

 

(defendant's position and title, if any)

The defendant is sued in his/her (Check one or both): Ol individual 1 official capacity.

Explain how this defendant was acting under color of law:

 

 

 

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D. CLAIMS* 4
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